Case 2:05-cr-20129-SH|\/| Document 28 Filed 07/14/05 Page 1 of 3 Page|D 26

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IN THE UNITED STATES DISTRICT COURT USJULlh AH|':US
FOR THE WESTERN DISTRICT OF TENNESSEE

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ess:H@F

vs:@?zz\‘~yis

 
 
  

UNITED STATES OF AMERICA,
VS. NO. 05-20129~1\’[&
MICHAEL ELY,

Defendant.

 

ORDER WAIVING APPEARANCE AT REPORT DATE

 

Before the court is the July ll, 2005, motion of defendant
Michael Ely, to Waive his appearance at the report date on July
22, 2005.

The defendant's signed Waiver of appearance is filed With
this order. For good cause shown, Michael Ely's appearance is
waived at the report date set on July 22, 2005, based on his
written Waiver.

It is so ORDERED this lsi<`day of July, 2005.

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SAMUEL H. MAYS, JR.
UNI'I‘ED STA'I‘ES DISTRICT JUDGE

 

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Case 2:05-cr-20l29-SHI\/| Document 28 Filed 07/14/05 Page 2 of 3 Page|D 27

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
vs. Cr. No. 05-20129-Ma
MICHAEL ELY,
Defendant.

 

WAIVER OF PERSONAL APPEARANCE AT REPORT DATE

 

I, Michael Ely, a defendant in this case, and along with my undersigned attorney, hereby

acknowledge the following

l understand l have the right to appear personally with my attorney before a judicial officer

for report in open Court on the above-numbered indictment l further understand that, absent the

present waiver, l must appear as directed

l have conferred With my attorney and fully understand all of the abovel l hereby waive my

personal appearance at the report date and Waive any rights I may have under the Speedy Trial Act,

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'!/Randolph W. Alden
Assistant Federal Defender

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:05-CR-20129 was distributed by faX, mail, or direct printing on
.luly 15, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

